FROM PASQUOTANK.
Upon the trial on non est factum, it turned out that the defendants were two of the acting justices of Pasquotank, at the     (7) date of the bond; whereupon his Honor, Judge STRANGE, holding that the same person could not be both plaintiff and defendant, directed a nonsuit, from which the relators appealed.
The bond in this case should have been taken to the justices present in court, and granting such guardianships, as is prescribed by the Act of 1762, chap. 69. But being taken to "Mullen and Knox, and the rest of the justices, etc.," and the defendants being two of them, the bond is nugatory, and of no effect as to them.
PER CURIAM.                                       Affirmed.
Cited: Justice v. Armstrong, 14 N.C. 287; Justice v. Bonner, Ib., 289;Dickey v. Allen, 15 N.C. 44; Vanhook v. Barnett, Ib., 269; Davis v.Somerville, Ib., 383; Newson v. Newsom, 26 N.C. 389; Bank v. Griffin,107 N.C. 174.